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January 8, 2025

VIA ECF
Hon. Philip M. Halpern
United State District Court, Southern District of New York
300 Quarropas Street, Room 530
While Plains, New York 10601


Re:        Chang v. Shen Yun Performing Arts, Inc., et. al. (No. 24-cv-08980)

Dear Judge Halpern:

This firm represents Defendants Hongzhi Li and Rui Li. I write to request an extension of time
for the Lis to answer or otherwise respond to the Complaint to February 19, 2025.

According to the affidavits of service filed by Plaintiff, the Lis were purportedly served on
December 20, 2024. Without waiving any arguments concerning the validity of service,
assuming a December 20 service date, the Lis response to the Complaint would be due on or
before January 10, 2025. Because our firm was just retained to represent the Lis and given the
complex factual and legal nature of the allegations in the Complaint, we request additional time
to evaluate and respond to the Plaintiff’s allegations. This is the Lis’ first request for an
extension of their time to respond to the Complaint. The requested extension would also align the
Lis’ response deadline with the response deadlines of the other Defendants. Plaintiff’s counsel
has advised that Plaintiff does not oppose the requested extension.

Respectfully submitted,
                                                                         Application granted.
S:/Kristina Reliford
Kristina Reliford                                                        The Clerk of Court is respectfully directed to
BRADLEY ARANT BOULT CUMMINGS LLP                                         terminate the letter motion pending at Doc. 31.
One 22 One
                                                                         SO ORDERED.
1221 Broadway
Nashville, TN 37203                                                      _______________________
                                                                         Philip M. Halpern
cc: All counsel of record (via ECF)                                      United States District Judge

                                                                         Dated: White Plains, New York
                                                                                January 10, 2025




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